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Plaintiff, ) cr. No. M,QM

v. )
)
JAMES cLARK, )
Defendant. )

 

APPL|CATION, ORDER and WR|T FOR HABEAS CORPUS AD PROSEQUENDUM

 

The United States Attorney’S Office applies to the Court for a Writ to have JAMES CLARK,
TDOC # 358180, now being detained in the Whitevi||e TN Correctiona| Faci|ity, appear before the

Honorab|e S. Thornas Anderson on TUEJ’>OA\\} ;, OS>'/ 50 105 , at 53 §OO
t'f/" _\`
a.nf@.m. f r initial appearance for Such other appearances as this Court may direct.

Respectfu||y submitted this Q/Q day of Ju|y 2005.

/4.~61/>#»~

AMES VV. POVVELL
Assistant U. S. Attorney

    
 

 

ORDER

 

Upon consideration of the foregoing App|ication,
David Jo|iey, U.S. |V|arsha||, Western District of Tennessee, and Warden WCFA:

YOU ARE HEREBY COMMANDED to have JAMES CLARK, appear before the Honorable
S. Thomas Anderson at the date and time aforementioned

ENTERED this €QQH-_ day Of U; ) pag’ 2005.

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S. THOMAS ANDERSON
This document entered on the docket sheet in comp§|iance United States Magistrate Judge

with Rq|e 55 andlor 32(b) FF\CrP on

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 1:05-CR-10053 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jaekson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

